         Case 2:15-cr-00144-SMJ          ECF No. 459        filed 05/25/16     PageID.1593 Page 1 of 2
O PS 8
(3/15)


                             UNITED STATES DISTRICT COURT
                                                           for
                                          Eastern District of Washington


U.S.A. vs.                   Broadnax Jr., Kevin                      Docket No.         0980 2:15CR00144-SMJ-10


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Charles J. Kuipers, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Kevin Broadnax, Jr., who was placed under pretrial release supervision by the Honorable U.S.
District Judge Salvador Mendoza sitting in the court at Richland, Washington, on the 12th day of May, 2016, under the
following conditions:

Condition #7: Defendant shall report to the United States Probation Office before or immediately after release and shall
report as often as they direct, at such times and in such manner as they direct.

Condition #13: Defendant shall submit to random urinalysis testing as directed by the United States Probation/Pretrial
Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant failed to report by phone on Monday, May 16, 2016, as directed.

Violation #2: The defendant failed to report for a random urine test on May 19, 2016.

                          PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                        I declare under the penalty of perjury
                                                                        that the foregoing is true and correct.
                                                                        Executed on:       May 25, 2016
                                                                 by     s/Charles J. Kuipers
                                                                        Charles J. Kuipers
                                                                        U.S. Pretrial Services Officer
         Case 2:15-cr-00144-SMJ        ECF No. 459      filed 05/25/16    PageID.1594 Page 2 of 2
  PS-8
  Re: Broadnax Jr., Kevin
  May 25, 2016
  Page 2

THE COURT ORDERS

[ ]      No Action
[9 ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[9 ]     Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature
                                                                        gnature of Judicial Officer

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                                                                      Date
